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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION

UNITED STATES OF AMERICA

        VS                                                    CASE NO. 3:94cr03012-04LAC

KIRKLAND HOLLINS

                                REFERRAL AND ORDER

Referred to Judge Lacey Collier on April 5, 2010
Motion/Pleadings: MOTION FOR REDUCTION OF SENTENCE PURSUANT TO TITLE 18
U.S.C. § 3582(c)(2)
Filed by DEFENDANT PRO SE                on 3/18/10 Doc.# 872

RESPONSES:
NONE                                        on                     Doc.#
                                            on                     Doc.#
         Stipulated          Joint Pldg.
         Unopposed           Consented
                                            WILLIAM M. McCOOL, CLERK OF COURT


                                            s/Jerry Marbut
LC (1 OR 2)                                 Deputy Clerk: Jerry Marbut

                                           ORDER
Upon    consideration   of   the   foregoing,      it   is   ORDERED     this    8 th   day   of
April, 2010, that:
(a) The relief requested is DENIED.
(b) See Doc. 778.




                                                             s /L.A. Collier
                                                           LACEY A. COLLIER
                                                 Senior United States District Judge
